        Case 2:23-bk-51178                  Doc 8 Filed 04/11/23 Entered 04/11/23 10:36:16                                Desc Ch 7
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Information to identify the case:
Debtor 1              John Edward Werner                                                Social Security number or ITIN        xxx−xx−6273
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of Ohio                     Date case filed for chapter 7 4/10/23
Case number: 2:23−bk−51178                Case Assigned To: Mina Nami Khorrami


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).


The staff of the bankruptcy clerk's office cannot give legal advice.


To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       John Edward Werner

2.      All other names used in the
        last 8 years

3.     Address                               7394 State Route 97, Lot 63
                                             Mansfield, OH 44903

4.     Debtor's attorney                     Jonathon C Elgin                                       Contact phone 567−275−1040
                                             JC Elgin Co., LPA
       Name and address                      6 Water St.                                            Email: jc@jcelgin.com
                                             Shelby, OH 44875

5.     Bankruptcy trustee                    Christal L Caudill                                     Contact phone 614−389−4940
                                             Christal L. Caudill, Trustee
       Name and address                      4260 Tuller Road, Suite 102                            Email: trusteepleadings@caudill−law.com
                                             Dublin, OH 43017
                                                                                                               For more information, see page 2 >
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Debtor John Edward Werner                                                                                                        Case number 2:23−bk−51178
6. Bankruptcy clerk's office                           170 North High Street                                             Hours open 9:00 am − 4:00 pm
                                                       Columbus, OH 43215−2414                                           Monday through Friday
      Documents in this case may be filed at this
      address. You may inspect all records filed                                                                         Contact phone (614)469−6638
      in this case at this office or online at
      https://pacer.uscourts.gov.
                                                                                                                         Date: 4/11/23

7. Meeting of creditors                                May 18, 2023 at 09:00 AM                                          Location:

      Debtors must attend the meeting to be            The meeting may be continued or adjourned to a later              341 meeting will be conducted
      questioned under oath. In a joint case,          date. If so, the date will be on the court docket. No             remotely. Please check the docket or
      both spouses must attend. Creditors may          unauthorized weapons are permitted on the court's premises.       with the case trustee for procedures.
      attend, but are not required to do so.           Cellular phones and portable electronic devices are permitted
                                                       provided that they are not used to take photographs or record
                                                       any court proceedings unless otherwise authorized by the
                                                       court.



8. Presumption of abuse                                The presumption of abuse does not arise.
      If the presumption of abuse arises, you
      may have the right to file a motion to
      dismiss the case under 11 U.S.C. §
      707(b). Debtors may rebut the
      presumption by showing special
      circumstances.


9. Deadlines                                     File by the deadline to object to discharge                             Filing deadline: 7/17/23
                                                 or to challenge whether certain debts are
      The bankruptcy clerk's office must receive dischargeable:
      these documents and any required filing
      fee by the following deadlines.
                                                       You must file a complaint:

                                                        • if you assert that the debtor is not entitled to
                                                          receive a discharge of any debts under any of the
                                                          subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                          or

                                                       • if you want to have a debt excepted from discharge
                                                         under 11 U.S.C § 523(a)(2), (4), or (6).

                                                       You must file a motion:

                                                       • if you assert that the discharge should be denied
                                                         under § 727(a)(8) or (9).


                                                       Deadline to object to exemptions:                                 Filing deadline: 30 days after the
                                                       The law permits debtors to keep certain property as               conclusion of the meeting of creditors
                                                       exempt. If you believe that the law does not authorize
                                                       an exemption claimed, you may file an objection.


10. Proof of claim                                     No property appears to be available to pay creditors. Therefore, please do not file a proof of claim
      Please do not file a proof of claim unless       now. If it later appears that assets are available to pay creditors, the clerk will send you another notice
      you receive a notice to do so.                   telling you that you may file a proof of claim and stating the deadline.


11. Creditors with a foreign                           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the
    address                                            court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy
                                                       law if you have any questions about your rights in this case.


12. Exempt property                                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                       distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that
                                                       list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law
                                                       does not authorize an exemption that the debtors claim, you may file an objection. The bankruptcy
                                                       clerk's office must receive the objection by the deadline to object to exemptions in line 9.


13. Abandonment                                        Pursuant to L.B.R. 6007−1, the trustee may abandon any property of the estate that is burdensome to
                                                       the estate or that is of inconsequential value and benefit to the estate. Further notice to creditors and
                                                       other parties in interest is not required for the abandonment of any property unless a party in interest,
                                                       before the conclusion of the § 341 meeting, files a request for further notice of abandonment.

If you would like to receive all future notices from the Bankruptcy Court electronically (email), you may register for the courts free Electronic Bankruptcy Noticing (EBN)
service. EBN is reliable, fast, and efficient. Additional details and registration are available at: https://bankruptcynotices.uscourts.gov
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